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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


In the Matter of the Federal Bureau of Prisons’
Execution Protocol Cases,

LEAD CASE: Roane et al. v. Barr                      Case No. 19-mc-0145 (TSC)

THIS DOCUMENT RELATES TO:

Lee v. Barr, No. 19-cv-2559


                                           NOTICE

       Plaintiff Daniel Lewis Lee respectfully submits this Notice to alert the Court of the

decision of the U.S. Court of Appeals for the Seventh Circuit in Peterson v. Barr, vacating the

preliminary injunction entered by the U.S. District Court for the Southern District of Indiana on

July 10, 2020. A copy of that decision is attached as Exhibit A.


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                                    In the

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                       Fitr fl *urnth eiratif
      No. 20-2252
      EARLENE BRANCH PETERSON,
      KIMMA GUREL, and MONICA VEILLETTE,
                                                     Plaintiffs-Appellees,
                                      v.

      WILLIAM P. BARR, Attorney General
      of the United States, MICHAEL CARVAJAL,
      and T. J. WATSON, Warden,
                                            Defendants-Appellants.


                   Appeal from the United States District Court
            for the Southern District of Indiana, Terre Haute Division.
         No. 2:20-cv-00350-JMS-DLP — Jane Magnus-Stinson, Chief Judge.


            SUBMITTED JULY 11, 2020 — DECIDED JULY 12, 2020



         Before SYKES, Chief Judge, and EASTERBROOK and BARRETT,
      Circuit Judges.
         SYKES, Chief Judge. In 1996 Daniel Lewis Lee murdered an
      Arkansas family of three in pursuit of funds to support the
      racketeering activities of a white supremacist organization.
      The crimes were particularly heinous. Lee and his codefend-
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      ant were members of the Aryan Peoples' Republic, a white
      supremacist group that sought to establish an independent
      nation in the Pacific Northwest. In January 1996 they trav-
      eled from the State of Washington to the Arkansas home of
      firearms dealer William Mueller; his wife, Nancy; and their
      eight-year-old daughter Sarah. After stealing a cache of
      weapons and a large amount of cash and coins, they shot the
      three victims with a stun gun, duct taped plastic bags over
      their heads to asphyxiate them, weighed their bodies down
      with rocks, and threw them in a bayou. The bodies washed
      up in an Arkansas lake about six months later.
          In 1999 a federal jury in the Eastern District of Arkansas
      convicted Lee of three counts of capital murder in aid of
      racketeering, 18 U.S.C. § 1959(a)(1), and sentenced him to
      death. Now more than two decades later, Lee has exhausted
      all appeals, including multiple rounds of postconviction
      review, and is scheduled to be executed on Monday, July 13,
      2020, at the United States Penitentiary in Terre Haute,
      Indiana. The execution was originally scheduled to take
      place on December 9, 2019, but was enjoined by two district
      judges, one in the Southern District of Indiana (where the
      prison is located) in connection with Lee's petition for
      habeas corpus under 28 U.S.C. § 2241, and another in the
      District of Columbia who was hearing a challenge to the
      federal execution protocol brought by Lee and other death-
      row inmates at the Terre Haute prison. We described this
      litigation history in our opinion two days ago affirming the
      Indiana judge's final order denying § 2241 relief. Lee v.
      Watson, No. 20-2128, slip op. at 3-6 (7th Cir. July 10, 2020).
      For present purposes, it's enough to say that on December 6,
      2019, we vacated the stay in the § 2241 habeas proceeding,
      Lee v. Watson, No. 19-3399, 2019 WL 6718924 (7th Cir. Dec. 6,
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      2019), and the Court of Appeals for the District of Columbia
      Circuit vacated the injunction in the execution-protocol case
      on April 7, 2020, In re Fed. Bureau of Prisons' Execution Proto-
      col Cases, 955 F.3d 106 (D.C. Cir. 2020). The Bureau of Prisons
      ("BOP") thereafter rescheduled Lee's execution for July 13,
      2020, at 4 p.m. EDT.
          On July 7, 2020, three family members of the victims filed
      a complaint in the Southern District of Indiana seeking to
      enjoin the BOP from carrying out Lee's execution. The
      plaintiffs — Earlene Peterson, age 81 (Nancy's mother);
      Kimma Gurel, age 61 (Nancy's sister); and Monica Veillette,
      age 43 (Nancy's niece) —want to attend the execution even
      though they oppose it. The Warden has authorized them to
      be witnesses, but they object to the BOP's decision to carry
      out the execution during the COVID-19 pandemic. They
      raise health concerns due to age, underlying medical condi-
      tions, the need to travel interstate to reach the Terre Haute
      prison, and the current degree of COVID-19 spread
      throughout the country. They seek to delay the execution
      until the pandemic is suppressed by widespread vaccination
      or effective treatment. The suit names the Attorney General,
      the BOP Director, and the Warden as defendants; we refer to
      them collectively as "the government." The plaintiffs allege
      that the agency's decision to schedule Lee's execution for
      July 13 failed to adequately account for the effect of the
      pandemic on their right to attend and thus is arbitrary,
      capricious, and contrary to law in violation of the Adminis-
      trative Procedure Act ("APA"), 5 U.S.C. § 706(2)(A).
         Late in the day on Friday, July 10, a district judge in the
      Southern District of Indiana issued a preliminarily injunction
      enjoining the defendants "from carrying out the execution of
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      Daniel Lewis Lee on July 13, 2020, or on any future date,
      pending final resolution of the merits of this case or until
      further order of this [c]ourt." Order Granting Plaintiffs'
      Motion for Preliminary Injunction at 14, ECF. No. 20. The
      judge ruled that "the plaintiffs have shown a strong likeli-
      hood of prevailing on their claim that the defendants' setting
      of Mr. Lee's execution date without considering their right to
      be present was arbitrary and capricious and not in ac-
      cord[ance] with [the] law." Id. at 11.
          The government immediately appealed and sought a
      stay from the district court. That request was promptly
      denied. On Saturday morning, July 11, the government filed
      an emergency motion asking us to summarily stay or vacate
      the preliminary injunction. We ordered a response from the
      plaintiffs by 6 p.m. CDT. They complied. The government
      filed a reply late last night.
          We vacate the preliminary injunction. The plaintiffs'
      APA claim lacks any arguable legal basis and is therefore
      frivolous.
          First, the challenged agency action—setting a date for ex-
      ecution—may not be judicially reviewable at all. The APA
      does not permit judicial review of an action "committed to
      agency discretion by law." 5 U.S.C. § 701(a)(2); Heckler v.
      Chaney, 470 U.S. 821, 829-33 (1985). The government argues
      that scheduling an execution date is such an action. "When
      deciding whether a decision is committed to agency discre-
      tion, we first review the applicable statutes and regulations."
      Menominee Indian Tribe of Wis. v. EPA, 947 F.3d 1065, 1072
      (7th Cir. 2020). The object is "to see if they contain 'judicially
      manageable standards ... for judging how and when an
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      agency should exercise its discretion!" Id.   (quoting   Chaney,
      470 U.S. at 830) (omission in original).
          As relevant here, the Federal Death Penalty Act directs
      that "[a] person who has been sentenced to death" must be
      "committed to the custody of the Attorney General until
      exhaustion of the procedures for appeal of the judgment of
      conviction and for review of the sentence." 18 U.S.C.
      § 3596(a). It continues: "When the sentence is to be imple-
      mented, the Attorney General shall release the person
      sentenced to death to the custody of a United States
      [M]arshal, who shall supervise implementation of the sen-
      tence in the manner prescribed by the law of the [s]tate in
      which the sentence [was] imposed" —here, Arkansas. Id. (If
      the forum state does not have a death penalty, the Act
      directs the district court to designate another state. Id.)
         The applicable regulations delegate broad discretion to
      the BOP Director to set execution dates:
             (a) Except to the extent a court orders other-
             wise, a sentence of death shall be executed:
                 (1) On a date and at a time designated by
                 the Director of the Federal Bureau of Pris-
                 ons, which date shall be no sooner that
                 60 days from the entry of the judgment of
                 death. If the date designated for execution
                 passes by reason of a stay of execution, then
                 a new date shall be designated promptly by
                 the Director ... when the stay is lifted.
      28 C.F.R. § 26.3(a)(1).
         Another regulation provides:
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              Except to the extent a court orders otherwise:
             (a) The Warden of the designated institution
             shall notify the prisoner under sentence of
             death of the date designated for execution at
             least 20 days in advance, except when the date
             follows a postponement of fewer than 20 days
             of a previously scheduled and noticed date of
             execution, in which case the Warden shall noti-
             fy the prisoner as soon as possible.
      Id. § 26.4(a).
          Perhaps the minimal constraints imposed by these regu-
      latory requirements—the 60-day postjudgment waiting
      period and the 20-day notice to the prisoner—are enough to
      preclude a conclusion that the BOP Director's scheduling
      decisions are entirely unreviewable under § 701(a)(2). For
      example, if a prisoner sued for inadequate notice of an
      execution date, a court could review that decision. But if the
      BOP observes the minimal requirements in the regulations—
      as it did here—then it has the unconstrained discretion to
      choose a date for the execution.
          The plaintiffs' claim is frivolous for another reason: they
      have no statutory or regulatory right to attend the execution.
      Judicial review under the APA is limited to persons who are
      "adversely affected or aggrieved by agency action within the
      meaning of a relevant statute." 5 U.S.C. § 702. Accordingly, a
      plaintiff must establish that "the injury he complains of ...
      falls within the zone of interests sought to be protected by
      the statutory provision whose violation forms the legal basis
      for his complaint." Air Courier Conference of Am. v. Am. Postal
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      Workers Union AFL-CIO, 498 U.S. 517, 523-24 (1991) (quota-
      tion marks omitted).
          The plaintiffs cannot satisfy this basic requirement. No
      federal statute or regulation gives them a right to attend
      Lee's execution. Needless to say, executions are not public
      proceedings. The Federal Death Penalty Act makes no
      mention of witnesses, whether members of the victims'
      family or others. In their complaint and motion for a prelim-
      inary injunction, the plaintiffs relied on the following regula-
      tion:
             (c) In addition to the Marshal and Warden, the
             following persons shall be present at the execu-
             tion:
                 (1) Necessary personnel selected by the
                 Marshal and Warden;
                 (2) Those attorneys of the Department of
                 Justice whom the Deputy Attorney General
                 determines are necessary;
                 (3) Not more than the following numbers of
                 person[s] selected by the prisoner:
                    (i)One spiritual adviser;
                    (ii)Two defense attorneys; and
                    (iii)Three adult friends or relatives; and
                 (4) Not more than the following numbers of
                 persons selected by the Warden:
                    (i)Eight citizens; and
                    (ii)Ten representatives of the press.
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             (d) No other person shall be present at the exe-
             cution, unless leave for such person's presence
             is granted by the Director of the Federal
             Bureau of Prisons. No person younger than
             18 years of age shall witness the execution.
      28 C.F.R. § 26.4(c)—(d) (emphasis added).
         The plaintiffs argued below that subsection (c)(4)(i) of
      § 26.4 gives them a legally enforceable right to attend the
      execution. It does not. The regulation specifies who may be
      permitted by the Warden to attend an execution. It is a limita-
      tion on, not an entitlement to, witness attendance. It is not
      designed to protect the plaintiffs; the regulation does not
      even mention victims' family members. Nothing in the
      regulation gives the plaintiffs a right to require the BOP to
      schedule Lee's execution at a time when they are willing or
      able to attend. Nor does the regulation require their attend-
      ance before the execution may proceed.
         Indeed, the district judge did not credit this argument.
      Instead, she developed her own theory of the case. Setting
      aside the impropriety of this maneuver, see United States v.
      Sineneng-Smith, 140 S. Ct. 1575, 1582 (2020), the judge's
      theory is no more viable than the one raised by the plaintiffs.
          Recall that the Federal Death Penalty Act provides that
      an execution shall be implemented "in the manner pre-
      scribed by the law of the [s]tate in which the sentence is
      imposed," § 3596(a)— again, Arkansas. Relying on the D.C.
      Circuit's decision in Execution Protocol Cases, the judge
      concluded that § 3596(a) incorporates Arkansas law govern-
      ing execution witnesses —more specifically, section 16-90-
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      502(e)(1) of the Arkansas Code. That reasoning seriously
      misreads the D.C. Circuit's decision and federal law.
          By its terms, § 3596(a) incorporates the forum state's law
      regarding the "manner" of implementing a death sentence.
      At issue in Execution Protocol Cases was whether this provi-
      sion incorporates only "a [s]tate's choice among execution
      methods such as hanging, electrocution, or lethal injection,"
      or whether it also requires the federal government to adhere
      to the "subsidiary details" of the state's chosen execution
      method. 955 F.3d at 108. The D.C. Circuit split three ways.
      Judge Katsas concluded that § 3596(a) incorporates only the
      "top-line choice among execution methods such as hanging,
      electrocution, or lethal injection." Id. at 113 (Katsas, J., con-
      curring). Judge Rao interpreted the incorporation language
      more broadly to include the procedures governing the
      manner of execution formally established by state statute or
      regulation, but not informal protocols or procedures. Id. at
      130 (Rao, J., concurring). As relevant here, Judge Rao identi-
      fied section 5-4-617 of the Arkansas Code—the provision
      specifying the state's lethal-injection procedures—as the
      incorporated state law in Lee's case. Id. at 142. Judge Tatel
      dissented. He agreed with Judge Rao that § 3596(a) incorpo-
      rates state procedures for effectuating death as contained in
      statutes and regulations. Id. at 146 (Tatel, J., dissenting). But
      he concluded that the statute also incorporates informal
      protocols if "issued by state prison officials pursuant to state
      law." Id.
          Nothing in any of the separate opinions in Execution Pro-
      tocol Cases supports the judge's conclusion that § 3596(a)
      incorporates the Arkansas Code provision governing execu-
      tion witnesses. To the contrary, the debate among the D.C.
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      Circuit judges was limited to state laws, regulations, and
      protocols governing procedures for effectuating death. Indeed,
      even the dissenting judge accepted that § 3596(a) does not
      require the BOP to follow "every nuance" of state execution
      procedure, but rather only "those procedures that effectuate
      the death, including choice of lethal substances, dosages,
      vein-access procedures, and medical-personnel require-
      ments." Id. at 151 (alteration and citations omitted). Section
      3596(a) cannot be reasonably read to incorporate every
      aspect of the forum state's law regarding execution proce-
      dure. We do not understand the word "manner" as used in
      § 3596(a) to refer to details such as witnesses. The word
      concerns how the sentence is carried out, not who watches.
         In short, section 16-90-502(e)(1) of the Arkansas Code, the
      provision governing execution witnesses, is irrelevant here.
      The judge was wrong to insert it into this case.
                                              INJUNCTION VACATED
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 12, 2020, I caused a true and correct copy of foregoing to be

served on all counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s August

20, 2019 Order, below is a list of all counsel of record. The names marked with an asterisk (*)

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